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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

vs.                                         Case No. 5:19cr77/TKW

DAWN MARIE ROOF

_________________________________________________________________

                    ACCEPTANCE OF PLEA OF GUILTY

        Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, DAWN MARIE ROOF, to Counts 1 and 31 of the Indictment

is hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

        DONE and ORDERED this 14th day of January, 2020.


                                   T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
